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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

ROANOKE DIVISION
UNITED STATES OF AMERICA _ )
) Criminal No. 7:20-cr-00029
v. )
) By: Michael F. Urbanski
MICHAEL JEROME PATTERSON, ) Chief United States District Judge
Defendant. )

MEMORANDUM OPINION
‘This matter is before the court on defendant Michael Jerome Patterson’s motion for

bond, ECF No. 28, and his motion for a Franks hearing, ECF No. 39. The government

 

opposes both motions. ECF Nos. 32, 44. Patterson has filed two supplemental motions for
bond, ECF Nos. 34 and 35, and a reply in support of his motion for Franks hearing, ECF
No. 48. The government and Patterson also have filed sur-replies regarding the motion for a
Franks hearing. ECF Nos. 49, 50. For the reasons explained herein, the court will DENY
both motions.
I. BACKGROUND

In September of 2016, Patterson was sentenced to 36 months imprisonment for (1)
conspitacy to possess with the intent to distribute heroin, as well as possession of a firearm
by a convicted felon. Am. J., United States v. Patterson, No. 7:16-cr-00010 (W.D. Va. Sept.
20, 2016), ECF No. 156. Patterson was released from prison and subject to conditions of
supervision starting May 9, 2019. Order on Pet. for Warrant at 1, United States v. Patterson,
No. 7:16-cr-00010 (W.D. Va. Oct. 24, 2019), ECF No. 226. About three months later,
Roanoke Police Department (“RPD”) searched a hotel room rented by Patterson and found

drug paraphernalia. Id. Patterson was not arrested at that time. Id. As a result of this
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interaction, Patterson’s probation officer petitioned the court to revoke Patterson’s term of
supervision. Id, at 1-2. The court issued a warrant for Patterson’s arrest. Arrest Warrant,
United States v. Patterson, No. 7:16-cr-00010 (W.D. Va. Oct. 24, 2019), ECF No. 227.
RPD’s Roanoke Valley Regional Drug Unit executed that arrest warrant on November 8,
2019, at the Howard Johnson Hotel in Salem, Virginia. Aff. in Support of Compl., ECF No.
1-1, at 2. As part of the arrest, the RPD used a Confidential Source (“CS”) to conduct a
controlled purchase of heroin from Patterson. Id. at 3. The CS entered his hotel room,
Room 330, while wearing a video camera. Mot. for Franks Hr’g, ECF No. 39, at 2. The
video showed Patterson in the room with an unidentified woman. Id. Patterson asked the CS
a question and the CS responded that she gave him $60 for drugs, though the video does not
show a transaction. Id. The unidentified woman then denied seeing the CS give Patterson
the money. Id. The CS subsequently left the hotel room. Id.

RPD Detective Bridges reportedly saw Patterson leave Room 330 and enter the
adjoining Room 332. Id. at 3. Fellow RPD Detectives Flippin, Boardwine, and Knicely took
positions around the corner from Room 332 so they could arrest Patterson when he
returned to Room 330. Id. The officers arrested him as he emerged from Room 332 and
Knicely put Patterson on the ground, handcuffed him, and removed the key to Room 330
from Patterson’s hand. Id.

Around 1:18 p.m. on November 8, 2019, Knicely applied for a Virginia search
warrant for Patterson’s hotel room, Room 330. Aff. in Support of Compl, ECF No. 1-1, at
4; Mot. for Franks Hr’g, ECF No. 38, at 3. In his affidavit for the warrant, he stated that the

following material facts constituted probable cause:
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Within the past 72 hours a Confidential Soutce (CS) purchased a quantity of
heroin from the target, Michael Jerome Patterson. The Confidential Source
was observed by law enforcement meeting with Patterson at the Howard
Johnson, 1671 Skyview Rd in room 330. The substance (fine brown powder)
purchased by the CS appeated to your Affiant through his training and
experience and its packaging to be Heroin. The CS was searched for
conttaband/currency prior to and following the controlled purchase and was
only out of sight upon entering the hotel room where Patterson|] is staying.
Your afffia]nt believes there are more narcotics and evidence of distribution
inside room 330, which is the hotel room to be searched. Patterson also had
an outstanding warrant that was confirmed. A few minutes after the deal was
completed, Patterson exited 330 and walked directly inside room 332. He was
atrested upon exiting the door of 332 a few moments later. Post Miranda,
Patterson stated there was a quantity of Meth and Heroin inside room 330.

Seatch Warrant, ECF No. 39-1, at 4.

Knicely asserted that the items seatched would constitute evidence of a crime, that he
had personal knowledge of the facts set forth in the affidavit, and he was advised of the facts
in the affidavit in whole or in part by another person. Id. He described the information
provided to him as follows:

You|t] affiant has been a member of the Roanoke County Police Department
since 2011[.] Your affiant was assigned to patrol until 2017. He is currently
assigned to the Roanoke Regional Drug Unit task force. He has conducted
several narcotic related investigations over this time span. In 2013 he became
certified in clandestine lab evidence retrieval, he has attended several drug
related training seminars and classes throughout his career. Det. Dennis is a
member of the Roanoke City Police Department. He is current[l]y assigned to
the Community Response Team and conducted several drug related
investigations. He has also tun seve[ra]l condentl[ijal informa[n]ts which have
conducted controlled purchases.

The Confidential Source is a registered informant with the Roanoke City
Police Department. This confidential source has provided information to the

Roanoke City Police that has been corroborated by your affiant.

Id. The search warrant was issued at 1:23 p.m. Id. at 5.
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Inside Room 330, the RPD officers found what they believed to be 25.1 grams of
methamphetamine, 12.4 grams of heroin, 18.8 grams of marijuana, 0.8 grams of crack
cocaine, a Heritage Rough Rider .22 caliber revolver, two mobile phones, and the sixty
dollars used in the controlled purchase. Aff. in Support of Compl., ECF No. 1-1, at 4; see
also Search Warrant, ECF No. 39-1, at 6.

On March 26, 2020, a criminal complaint was filed against Patterson in the instant
case based on the controlled substances and firearm found during the search conducted on
November 8, 2019. Compl, ECF No. 1. On May 21, 2020, the government indicted
Patterson for (1) knowingly and intentionally possessing with the intent to distribute 5 grams
or more of methamphetamine, (2) knowingly and intentionally possessing with the intent to
distribute a measurable quantity of fentanyl, G3) knowingly possessing a firearm in
furtherance of a drug trafficking crime, and (4) knowingly possessing a firearm, a Heritage
Rough Rider .22 caliber revolver, having been convicted previously of a crime punishable by
imprisonment for a term exceeding one year. Indictment, ECF No. 12.

Patterson is a 38-year old Black man with hypertensive heart disease, high blood
pressute, a history of smoking, and obesity. Mot. for Bond, ECF No. 28, at 1. While in
pretrial custody at the Roanoke City Jail, Patterson contracted the COVID-19 virus. Second
Suppl. Mot. for Bond, ECF No. 35; see also Medical Records, ECF No. 35-1.

II. PATTERSON’S REQUEST FOR A FRANKS HEARING
a. Legal Standard
The Fourth Amendment of the United States Constitution protects against

unreasonable searches and seizures and mandates that “no Warrants shall issue, but upon
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probable cause, supported by Oath or affirmation.” U.S. Const. amend. IV. In Franks vy.
Delaware, 438 U.S. 154 (1978), the Supreme Court held that a defendant may challenge a
facially sufficient affidavit supporting a wartant under certain, narrowly defined
circumstances. See also United States v. Colkley, 899 F.2d 297, 300 (4th Cir. 1990). In
general, there is a strong “presumption of validity with respect to the affidavit supporting the

search warrant.” Franks, 438 U.S. at 171. “To establish a Franks violation, a defendant must

 

 

prove that the affiant either intentionally or recklessly made a materially false statement or
that the affiant intentionally or recklessly omitted material information from the affidavit.”
United States v. Wharton, 840 F.3d 163, 168 (4th Cir. 2016).1 The defendant must
demonstrate both intentionality and materiality by a preponderance of the evidence. United
states v. Lull, 824 F.3d 109, 115 (4th Cir. 2016). “A showing that the officer acted
negligently, or that the omission was merely an innocent mistake, is insufficient to warrant
suppression.” Id. A false statement or omission is material if it is necessary to the finding of
probable cause or, in other words, if its correction or inclusion would defeat probable cause.

Wharton, 840 F.3d at 168-69 (citing Franks, 438 U.S. at 156; Colkley, 899 F.2d at 301).

 

An alleged Franks violation cannot move forward on allegations alone. To obtain a
Franks heating, “a defendant must make a substantial preliminary showing that (1) law
enforcement made a false statement [or omission]; (2) the false statement [or omission] was
made knowingly and intentionally, or with reckless disregard for the truth; and (3) the false

statement [or omission] was necessary to the finding of probable cause.” United States v.

 

1 Franks concerned only false statements, see 438 U.S. at 171, but the Fourth Circuit has extended this rule to
include material omissions. Colkley, 899 F.2d at 300. Franklin claims that affiant made materially false
statements as well as material omissions.
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Moody, 931 F.3d 366, 370 (4th Cir. 2019); see also United States v. Campbell, --- FP. App’x --

 

-, No. 19-4298, 2020 WL 1235797, at *2 (4th Cir. Apr. 2, 2021); Colkley, 899 F.2d at 300
(quoting Franks, 438 U.S. at 155~56). This showing “‘must be more than conclusory’ and
must be accompanied by a detailed offer of proof.” Colkley, 899 F.2d at 300 (quoting
Franks, 438 U.S. at 171). “Affidavits or sworn ot otherwise reliable statements of witnesses
should be furnished, or their absence satisfactorily explained.” Franks, 438 U.S. at 171. A
defendant’s burden increases when relying on an omission because an affidavit “cannot be
expected to include...every piece of information gathered in the course of an investigation”
and, accordingly, always involves “a deliberate process of omitting pieces of information.”
United States v. Tate, 524 F.3d 449, 454-55 (4th Cir. 2008) (quoting Colkley, 899 F.3d at
300). These types of “intentional omissions do not satisfy the requirement of Franks.” ‘Tate,
524 F.3d at 455. And still, “af, when material that is the subject of alleged falsity or reckless
disregard is set to one side, there remains sufficient content in the warrant affidavit to
support a finding of probable cause, no heating is required.” Franks, 438 U.S. at 171-72.

If a hearing is appropriate and the defendant establishes a Franks violation, “the

 

warrant ‘must be voided’ and evidence or testimony gathered pursuant to it must be
excluded,” without consideration of the good-faith exception to the exclusionaty tule.

Colkley, 899 F.2d at 300 (quoting Franks, 438 U.S. at 156).

 

b. Analysis
In this case, Patterson alleges that the affiant makes several material and intentional
false statements ot omissions in support of the search warrant. In particular, Patterson

alleges that the affidavit:
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® falsely states that Patterson said there was a quantity of methamphetamine and
heroin inside Room 330 when he made no such statement,

e falsely states the CS was not out of law enforcement’s sight until she entered the
hotel room while omitting that the CS was out of sight while walking alone
toward an elevator and while alone in the elevator,

* omits that a third person was in the room during the controlled buy, and

¢ omits that Room 330 adjoined another toom to which an interior door was open
during the visit.

Mot. for Franks Hr’g, ECF No. 39, at 5-7. Patterson argues that these allegedly false
statements and omissions incorrectly “gave the impression” that the CS only had contact
with Patterson while in the hotel room and therefore could only purchase heroin from him,
which was a misleading and erroneous conclusion supporting the issuance of the warrant. Id.
at 6. Patterson alleges in his motion that the CS did not purchase drugs from him. Id.

Patterson also generally critiques the affidavit’s representation of the CS. He argues
that the affidavit says that the CS is a registered informant without explaining what that
means, giving the term a false sense of credibility when, in fact, the CS had recently been
atrested for theft, a crime of dishonesty. Id. Patterson notes that the affidavit fails to specify
(1) how often the CS had provided information, (2) the tecency of that information, (3) how
often the information turned out to be true, (4) whether the information led to arrests and
convictions, (5) whether the CS was paid for her work with law enforcement, (6) whether the
CS was addicted to drugs, and (7) how the affiant corroborated the prior information given
by the CS to the RPD. Id. at 7.

All of Patterson’s allegations—considered individually and in their totality—fail to

 

satisfy the standard to receive a Franks hearing. First, Patterson offers no support for his
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assettion that the affidavit falsely states that Patterson said, at the time of his arrest, that

there was a quantity of methamphetamine and heroin inside Room 330. Franks clearly states

 

that the allegation “must be more than conclusory,” but a conclusory allegation is all that

Patterson offers. Franks, 438 U.S. at 171; see also United States v. Chandia, 514 F.3d 365,

 

373 (4th Cir. 2008) (“bare allegations” were insufficient for “substantial preliminary
showing” required by Franks). In reply, Patterson argues that the prosecutors require a
promise that he testify in violation of his Tifth Amendment tights, but this unfairly

characterizes the government’s simple argument that Patterson must put forwatd some kind

 

of proffer to support his motion for a Franks hearing. Moreover, as the government notes in
its sur-reply, “while the assertion of the Fifth Amendment privilege against compulsoty self-
inctimination may be a valid ground upon which a [defendant-witness] declines to answer
questions, it has never been thought to be in itself a substitute for evidence that would assist
in meeting a burden of production.” United States v. Rylander, 460 U.S. 752, 758 (1983).
Duting oral argument, Patterson requested leave to file an affidavit supporting his
claim that he did not state that methamphetamine and heroin were inside the room. While
amenable to this request, the court finds that such an affidavit would not salvage Patterson’s
motion. Though it would provide a substantial preliminary showing that (1) law enforcement
made a false statement, and (2) the false statement was with reckless disregard for the truth,
but the court finds that even this affidavit would not defeat probable cause given the
conttolled purchase preceding the arrest and search. District courts in the circuit have
pteviously found that such a controlled purchase, surveilled and recorded by law

enforcement, provides sufficient probable cause to support the issuance of a search warrant.
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See, e.g., United States v. Lowery, No. 4:15-cr-00714-RBH, 2016 WL 4527174, at *2 (D.S.C.

Aug. 30, 2016); see_also United States v. Williams, 974 F.2d 480, 481-82 (4th Cir. 1992)

 

(affidavit submitted to magistrate contained sufficient facts to establish that the defendant
was a drug dealer and drug paraphernalia likely would be found in his hotel room). The court
is similarly convinced here that the surveilled and recorded controlled purchase, alone, is
sufficient for probable cause.

To be sure, Patterson also attacks the controlled purchase, but the court finds each of
these attacks unconvincing. It is true that the affidavit erroneously states the CS was not out
of law enforcement’s sight until she entered the hotel room, and it omits that she was
actually out of sight while walking alone toward the elevator and while in the elevator.? But
Patterson does not and cannot explain how this is material. At most, Patterson asks why the
affiant would make such a statement. Reply in Support of Mot. for Franks Hr’g, ECF No.
48, at 5. Without any substantial showing that the statement was knowingly, intentionally, or
recklessly included in the affidavit, the court presumes this error was, at most, negligent.
Moreover, the court agrees with the government that repairing the affidavit to say that CS
was never out of sight except while approaching and inside the elevator does nothing to
disturb the magistrate judge’s finding of probable cause that a ctime was committed in the
room based on the other assertions in the affidavit. Mem. in Opp’n, ECF No. 44, at 8.

The court also agrees that the affidavit omits the presence of a third person in the
room at the time of the controlled buy. Here, too, Patterson does not offer any kind of

pteliminary showing that these statements were knowingly, intentionally, or recklessly made.

 

2 While it is true that the informant was briefly out of view of law enforcement, she wore a body camera
which revealed her location and conduct.
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Patterson merely asks why this information was omitted and implies that the drugs from the
controlled buy may have been purchased from this thitd person. This sort of unsupported
insinuation is unpersuasive and insufficient under Franks and its progeny. At most, the
omission was negligent. But Patterson also fails to show why the presence of a third person
is material in the absence of any proffer of evidence that someone else sold the CS drugs
rather than Patterson. The presence of another person in the room and Patterson’s
unsupported insinuation do not disturb the magistrate’s finding of probable cause.

Next, Patterson alleges that the affidavit omits that Room 330 adjoined another toom
to which an interior doot was open during the visit. Patterson again fails to make any
pteliminary showing that this omission, if indeed an omission, was knowingly, intentionally,
or recklessly made. As the government notes, it is not clear from Patterson’s video exhibits
that the interior door between the nwo rooms is open. Mem. in Opp’n, ECF No. 44, at 10.
Patterson’s own movements, as described in his motion, refute the idea that the interior
door was open since Patterson went outside to get to the adjoining room and was then
attested outside when going back to Room 330. Id. Even if the door were open, that does
not diminish probable cause given Patterson’s admission that drugs were in Room 330.

Patterson takes issues with the “inevitable and erroneous” conclusion to which these
vatious misrepresentations lead: Patterson sold the CS drugs. Mot. for Franks Hr’g, ECF
No. 39, at 6. Here, again, Patterson’s allegations are conclusory. He proffers nothing to
suppott the idea that Detective Knicely intentionally, knowingly, or recklessly stated or
insinuated that the CS purchased drugs from Patterson when she actually purchased them

from someone else. To the contrary, (1) the CS went into the room with sixty dollars and no

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drugs, (2) she left with no money and a small quantity of suspected heroin, (3) Patterson
allegedly told the police officers that methamphetamine and heroin were inside the hotel
room to which he had a key at the time he was arrested, and (4) the CS told the officers that
she purchased the drugs from Patterson.

Patterson also takes issue with the credibility of the CS, but the court finds the
affidavit’s tepresentation of her to be sufficient. The affiant says he has personally
corroborated information provided by the CS. That is the only affirmative representation he
makes regarding her credibility. Patterson does not directly contradict this representation but
takes issue with omitted information about the CS’s background and possible motives. To be
sute, an informant’s background is meaningful in evaluating probable cause. See Lull, 824
F.3d at 117 (‘The trustworthiness of the confidential informant lies at the heart of the
reliability determination[.]”); United States v. Anderson, No. 7:19-CR-00027, 2020 WL
249479, at *9 (W.D. Va, Jan. 16, 2020) (“[A] judicial officer’s assessment of probable cause
based upon the totality of the circumstances must include a review of ‘the veracity and basis
of knowledge of persons supplying hearsay information.”’) (quoting United States v. Perez,
393 F.3d 457, 461-62 (4th Cir. 2004)). At the same time, Patterson offers no evidence that
the affiant intentionally, knowingly, or recklessly omitted a relevant part of the C$’s criminal
history ot possible ulterior motives. Rather, he generally alleges she is untrustworthy. But the
affidavit does not represent the CS as anything more than a registered informant who had
ptovided evidence which the affiant himself had corroborated. This representation, unlike

those in Lull and Anderson, was fair and sufficient. See United States v. Haas, 986 F.3d 467,

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474-75 (4th Cir. 2021) (finding Franks hearing not warranted when informant’s criminal
history and prior informant work outcomes were omitted from seatch warrant affidavit).
At oral argument, Patterson conceded that no single allegation defeats probable

cause, but he argued that the totality of the circumstances show that a Franks hearing is

 

needed. The court disagrees. Even when considered together, the sum of Patterson’s various
arguments do not amount to a “substantial preliminary showing that (1) law enforcement
made a false statement [or omission]; (2) the false statement [or omission] was made
knowingly and intentionally, or with reckless disregard for the truth; and (3) the false
statement [or omission] was necessary to the finding of probable cause.” Moody, 931 F.3d at
370. Each of Patterson’s arguments fails to satisfy at least one of these prongs, and most of
them fail to satisfy two or all three. The court simply is not convinced that, in this case, the
whole is greater than the sum of its patts.
III. PATTERSON’S REQUEST FOR BOND
a, Legal Standard

Patterson argues that his health conditions, prior COVID-19 infection, and his
inability to protect himself from COVID-19 while incarcerated present changes in
citcumstance relevant to his pretrial detention. Mot. for Bond, ECF No. 29; Second Suppl.
Mot. for Bond, ECF No. 35.

“Ordinarily, a defendant should not be detained pending trial.” United States v. Lee,

No. 19-159, 2020 WL 1974881, at *3 (D. Md. Apr. 24, 2020); see also United States _y.

 

Salerno, 481 U.S. 739, 755 (1987) (“In our society liberty is the norm, and detention prior to

 

trial or without trial is the carefully limited exception”). Under the Bail Reform Act, 18

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U.S.C. § 3141 et seq., if the court determines, following a hearing, that “no condition or
combination of conditions will reasonably assure the appearance of the person as required
and the safety of any other person and the community,” the court “shall order the detention
of the person before trial.” 18 U.S.C. § 3142(e)(1). The court must find that the defendant is
either a flight risk or a danger to the community, though it need not find both. See Salerno,
481 U.S. at 754-55. “But, the burden of proof differs: the government must establish that a
defendant is a flight tisk by a preponderance of the evidence, whereas the defendant’s danger
to the community must be proven by cleat and convincing evidence.” Lee, 2020 WL
1974881, at *3 (citing United States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001) (per
cutiam)).

In conducting its original detention analysis, the court must “take into account the
available information concerning” the factors laid out in 18 U.S.C. § 3142(¢). Those factors
include the following:

(1) the nature and circumstances of the offense charged, including whether the

offense is a crime of violence, a violation of section 1591, a Federal crime of

tettotism, or involves a minor victim or a controlled substance, firearm,
explosive, or destructive device;

(2) the weight of the evidence against the person;

(3) the history and characteristics of the person, including—

(A) the person’s character, physical and mental condition, family ties,
employment, financial resources, length of residence in the community,
community ties, past conduct, history relating to drug or alcohol abuse,
criminal history, and record concerning appearance at court

ptoceedings; and

(B) whether, at the time of the current offense or arrest, the person was
on probation, on parole, or on other release pending trial, sentencing,

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appeal, or completion of sentence for an offense under Federal, State,
ot local law; and

(4) the nature and seriousness of the danger to any person or the community
that would be posed by the person’s release...

Id. If detention is ordered, a judicial officer can release the defendant if he or she “finds that
information exists that was not known to the movant at the time of the hearing and that has
a material beating on the issue....” 18 U.S.C. § 3142(f. A judicial officer may also
temporarily release detainees “to the extent that the judicial officer determines such release
to be necessary for preparation of the person’s defense or for another compelling reason.”
18 U.S.C. § 3142@).
During the pandemic, the Fourth Circuit instructs that § 3142(1) requires
consideration of the:
severity of the risk that the COVID-19 virus poses to the defendant, given his
existing medical conditions and the current COVID-19 situation at the facility where
he is being held, and whether that risk, balanced against the other Bail Reform Act
factors, rises to the level of a “compelling reason’ for temporaty release...
United States v. Creek, 457 F. Supp. 3d 473, 474 (D. Md. 2020) (citing Fourth Circuit’s order
of remand); see also United States v. Chase, CR JIB-19-0473, 2020 WL 2319132, at *3 (D.
Md. May 11, 2020). Specifically, the court must consider:
(1) the original grounds for detention; (2) the specificity of a defendant’s
COVID-19 concerns; (3) the extent to which the proposed release plan is
designed to mitigate or exacerbate other COVID-19 tisks to the defendant;
and, (4) the likelihood that a defendant’s release would increase the COVID-

19 risks to others.

Chase, 2020 WL 2319132, at *3 (citing United States v. Green, 1:19-CR-00539-CCB-1, 2020

 

WL 1873967, at *3 (D. Md. Apr. 15, 2020)).

b. Analysis

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Here, Patterson moves for pretrial release under 18 U.S.C. § 3142(i), alleging that he
has been in custody for over a year and the delays and risks to his health caused by pretrial
incarceration during the COVID-19 pandemic constitute “another compelling reason” for
temporary release. See generally Mots. for Bond, ECF Nos. 28, 34, 35.

The magistrate judge found “[b]y clear and convincing evidence that no condition or
combination of conditions of release will reasonably assure the safety of any other person
and the community,” based on his criminal history and the fact that the current offense
conduct occurted while on supervised release for similar charges. Order of Detention, ECF
No. 8, at 2-3. While Patterson’s prior and current charges are non-violent, both involved
mixing drugs and firearms. Id. at 3. Given these factors, the magistrate judge found that
Patterson’s plan to live in Maryland with his girlfriend was insufficient to keep the
community safe, outweighing the risks posed to Patterson by COVID-19. Id.

On the other hand, all of Patterson’s health conditions—his hypertensive heart
disease, high blood pressure, history of smoking, and obesity——can place him at an increased
tisk of severe infection should he contract the COVID-19 virus.3 But Patterson has already
contracted the virus once in September of 2020. Second Suppl. Mot. for Bond, ECF No. 35.
Presumably, Patterson has recovered from his infection and, thankfully, reinfections of
COVID-19 remain rare. Patterson now requests to live with his sister in Rocky Mount,
Virginia, on home detention and with location monitoring while he awaits trial. Mot. for

Bond, ECF No. 29, at 2, 1112. Given COVID-19 restrictions, Patterson says he “will not

 

> Ctrs. for Disease Control and Prevention, People with Certain Medical Conditions
httos://www.cde. gov / coronavirus /2019-ncov/need-extra-precautions /peonle-with-medical-conditions. html
(updated May 13, 2021).
4 Ctrs. fot Disease Control and Prevention, Reinfection with COVID-19,
coronavitus/2019-ncov /vour-health /reinfection. html (updated Oct. 27, 2020).

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need to travel from his sister’s home.” Id. at 11. Patterson would present little risk to himself
and others should he remain in his sister’s home, but the court questions whether he will do
so given his prior conduct on supervised release.

Overall, the court finds that “severity of the risk that the COVID-19 virus poses to
[Patterson], given his existing medical conditions and the current COVID-19 situation at
[the Roanoke City Jail],” does not “tise[| to the level of a ‘compelling reason’ for temporary
release” when “balanced against the other Bail Reform Act factors.” Creek, 457 F. Supp. 3d
at 474. Accordingly, temporarily release under 18 U.S.C. § 3142( is inappropriate.

IV. CONCLUSION
For these reasons, the court DENIES Patterson’s motions for bond, ECF Nos. 28,

34, and 35, and his motion for a Franks hearing, ECF No. 39.

 

An appropriate order will be entered.

7? 2021

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Entered: June

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Michael F. Urbanski
Chief United States District Judge

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